PROB 12C
(3¢'98)

` f " CaSe 1201-CI’-1OOS4-.]UNITEDLSMES ]]IEGCROU]ZBZT§UR’BQ€ 1 Of 3 Page|D 75

for
Western District of Tennessee

Petitioo for Warrant or Summons for Offender Under Supervision

Name of Offender: Lal'l'y W. Carter Case Number: l 20 l CRl 0034-1 -T

Name of Sentencing Judicial Oft'icer: HOnOI‘abl€
J ames D. Todd

Date of Original Sentence: July 2, 2003

Original Offense: Convicted Felon in Possession of
Firearm; 18 U.S.C. § 922(g) & 18 U.S.C. § 924(a)(2)

Original Sentence: 30 months in custody; 3 years on

 

supervised release

Type of Supervision: Supel'vised Release Date Supervision Comrnenced: September
19, 2003

Assistant U.S. Attomey: Lell R€gistel' Defense Attomey: M. Diann€ SmOth€rS,
AFPD

W
PETITIONING THE COURT

[ ] To issue a warrant
[X] To issue a summons

U.S. Probation Officer Recommendation:

[ ] The term of supervision should be
{ ] revoked.
[ ] extended for years, for a total term of years.

[X] The conditions of supervision should be modified as follows:

PRESENT CONDITION‘. The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer.

MODIFIED TO: The defendant shall participate as directed in a program of mental health treatment,
including a sexual offender treatment program and evaluationl as approved by the Probation Oi`licer. The

defendant shall abideb the rules re uirements and conditions of the treatment ro ram includin
submittin to ol ra htestin to aid in the treatment and su ervision roeess.

 

 

Respectfully submitted,

by W
Mark Alan Escue

U.S. Probation Ofticer
mmilhndonmmmh oate: May 20, 2005

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‘ THL§`@§@RJ;:Q§U§§-;Q§QOSA,-JDT Document 65 Filed 05/25/05 Page 2 of 3 Page|D 76

No Action
The Issuance of a Warrant

The Issuance of a Summons
Other

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iowa

onorable James D. Todd
hief U.S. District Court Judge

527/lwqu

Date V

 
 

 
 

UNITED sTATES DISTRICT COURT - WESERTN DTRCT 0 TNNESSEE

     

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This notice confirms a copy of the document docketed as number 65 in
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M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

